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                                  UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES

 Date: November 7, 2022                Time: 9:34-9:55 AM           Judge: Edward J. Davila
                                       Total Time: 21 min
 Case No.: 5:18-CR-00258-2 EJD         Case Name: United States v. Ramesh “Sunny” Balwani (P) (NC)

Attorney for Plaintiff: Robert Leach, Jeffrey Schenk, John Bostic, Kelly Volkar

Attorney for Defendant: Jeffrey Coopersmith, Shawn Estrada


       Deputy Clerk: Cheré Robinson                 Court Reporter: Irene Rodriguez

                                                    Probation Officer: Jessica Goldsberry


                                 PROCEEDINGS – MOTION HEARING

Defendant present and no in custody.

Hearing held on Defendant’s Motion to Continue Sentencing (ECF No. 1622). Arguments of Counsel
heard.

The Court continues sentencing hearing to December 7, 2022.

Probation will complete Presentence Investigation Report by close of business on November 14, 2022.


CASE CONTINUED TO: December 7, 2022, at 10:00 A.M. for Sentencing.




                                                                                          Cheré Robinson
 P/NP: Present, Not Present
                                                                                        Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                          Original: Efiled
 I: Interpreter
                                                                                                     CC:
